                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                         DOCKET NO. 3:12-cr-00188-FDW-DSC
 UNITED STATES OF AMERICA,                     )
                                               )
 vs.                                           )
                                               )
 (13) NATHANIEL GRAHAM,                        )                      ORDER
                                               )
         Defendant.                            )
                                               )



        THIS MATTER is before the Court on Defendant’s pro se Motion for Compassionate

Release under 18 U.S.C. § 3582(c)(1)(A). (Doc No. 1192).

        The Court hereby ORDERS the Government to respond to Defendant’s motions. The

Government shall have thirty (30) days from the date of this Order to file its response with the

Court. The Government shall advise the United States Probation Office if the Government

believes a supplemental Presentence Investigation Report will be required.

        IT IS SO ORDERED.


                                          Signed: November 5, 2020




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